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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA, ex rel.                           COMPLAINT
  KELLYE. SORENSON,                                       FILED UNDER SEAL
                                                     Pursuant to 31 U.S.C. §3730(b)(2)
                   Plaintiffs,                             Jury Trial Requested

  vs.

  WADSWORTH BROTHERS                             Civil No:
  CONSTRUCTION COMPANY, INC.,
                                                 Judge:
                  Defendants.


                                  JURISDICTION AND VENUE

         1.      This action is to recover damages and civil penalties on behalf of the

  United States of America arising out of false claims, transactions, and other related acts

  of the Defendants Onder Title 31 U.S.C. §3729 of the False Claims Act, through Relator

 Kelly E. Sorenson, pursuant to 31 U.S.C. §3730(b).

         2.      Jurisdiction is founded upon 28 U.S.C. §1331 and §1345.
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       3.      Venue of this action is proper in the Central Division pursuant to 31 U.S.C.

§3732, in that the Plaintiff and Defendants reside in this District and a substantial part of the

events giving rise to the Plaintiffs claims arose within this District.

                                             PARTIES

       4.      Plaintiff/Relator Kelly E. Sorenson (Relator Sorenson) is a resident of the County

of Salt Lake, State of Utah.

       5.      Wadsworth Brothers Brothers Construction, Inc., (Wadsworth Brothers) is a for-

profit corporation registered and doing business in the State of Utah.

       6.      The United States of America is a potential Plaintiff in this action.

       7.      Salt Lake City is a municipality located within the State of Utah and awarded

various federally funded contracts to Wadsworth Brothers.

       8.      The Utah Department of Transportation is an agency within the State of Utah has

awarded various federally funded contracts to Wadsworth Brothers.

                                  GENERAL ALLEGATIONS

       9.      Relator Sorenson has direct and independent knowledge within the meaning of 31

U.S.C. § 3730(e)(4)(B) derived through his employment with Wadsworth Brothers.

       10.     Counts I, II, III and IV are civil actions by Relator Sorenson, acting on behalf of

and in the name of the United States, against Wadsworth Brothers under the federal False Claims

Act, 31 U.S.C. §§3729- 3733, and 3801.

       11. ·   Count V is a civil action by Relator Sorenson against Defendants under the

"whistleblower protection" provision of the federal False Claims Act, 31 U.S.C. § 3730(h).
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       12.     In 2012, Salt Lake International Airport (the Airport), a Department of Salt Lake

City, received a nine million dollar federal grant through the FAA for airport improvements.

       13.     Using the funds from the federal grant, the Airport solicited bids on or about July

13, 2012 for construction of deicing pad 34R at the airport.

       14.     As a condition of the federal grant, the Airport required that contractors awarded

the bid were required to certify that all employees were paid in compliance with the Davis-Bacon

Act. This information was contained in the bid solicitation documents.

       15.     On or about August 15, 2012 the bids were opened and Wadsworth Brothers was

found to be the apparent low bidder.

       16.     Wadsworth Brothers and the Airport subsequently executed the necessary

documents to complete the contract, including a Notice to Proceed.

       17.     Wadsworth Brothers was at all times relevant, required to comply with the Davis-

Bacon Act.

       18.     The Davis-Bacon Act 40 U.S.C. §3141 requires contractors to pay their laborers

no less than the locally prevailing wages on federally funded construction projects in excess of

$2,000.00.

       19.     The Davis-Bacon Act 40 U.S.C. §3145 directs the Secretary of Labor to establish

regulations governing the requirements of Davis-Bacon, including requirements that the

contractor must provide a statement of wages paid to employees on Davis-Bacon contracts.

       20.     Under 29 CFR §5.5 contractors are required to certify their compliance with

Davis-Bacon requirements.
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       21.     Lori Wadworth, controller for Wadsworth Brothers, certified the payrolls under

29 CPR Subsection A. See Exhibit A.

       22.     Wadsworth Brothers began construction work on the Deicing project around

January 14, 2013.

       23.     Relator Sorenson was employed as a truck driver by Wadsworth Brothers from

September 1, 2014 until November 14, 2014.

       24.     On all days that the Relator worked on the Deicing project, the Relator was

required to swipe his work identity badge into the security system of the Airport to obtain access

to the Airport property.

       25.     Relator Sorenson has a basic familiarity with the requirements of Davis-Bacon,

having worked on other jobs which required Davis-Bacon compliance.

       26.     In addition to his regular rate of pay, Relator Sorenson was entitled to an

additional $10.53 per regular hour worked on the Davis-Baconjobsite.

       27.     Almost immediately after being employed, Relator Sorenson noticed

discrepancies in his pay.

       28.     Relator did spend approximately 3 days working on another federally funded

project on Bangeter Highway as part of the 1-15 Core Project on or about October 16 to October

18, 2014.

       29.     Although employed exclusively on the federally funded projects, Relator

Sorenson's pay reflected substantial work on non-Davis-Baconjobsites.

       30.     Relator Sorenson subsequently learned that Wadsworth Brothers created time

sheets showing Relator Sorenson workingjobs outside of the Deicing and 1-15 Core projects.
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        31.    Several of these time sheets contained Relator Sorenson's forged signature. See

Exhibit B.

        32.    Wadsworth Brothers also had Relator Sorenson sign time sheets. After Relator

Sorenson signed the time sheets, Wadsworth Brother would enter job site codes that were not

previously on the time sheets. This would make it appear as though Relator Sorenson was

working off the Deicing Project site. See Exhibit C.

        33.    Relator Sorenson also learned that when Wadsworth did pay the Relator Sorenson

some of his additional wages due under Davis-Bacon, the wages were paid as a "Union Benefit".

        34.    The "Union Benefits" were then sent by Wadsworth to their "Profit Sharing"

plan.

        35.    The amounts sent to the "Profit Sharing" plan did not equal the Davis-Bacon

wages that were due the Relator.

        36.    Wadsworth Brothers uses Alliance Benefit Group to administer its "Profit

Sharing" plan through Morgan Stanley.

        37.    Upon information and belief, the account used by Wadsworth Brothers for the

Profit Sharing plan is commingled with the general funds of Wadsworth Brothers.

        38.    Relator's time sheets and pay stubs show entries indicating that the Relator was

not working at the Deicing project.

        39.    Records obtained from the Salt Lake International Airport shows days that the

Relator swiped into the Airport security system to work.

        40.    The time sheets and pay stubs of Wadsworth do not show all of the days that the

Relator swiped into the Airport system.
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            41.   Knowing that he was not being paid in accordance with the Davis-Bacon Act,

Relator Sorenson began to question how he was being paid.

            42.   Relator Sorenson began talking to co-workers about the failure of Wadsworth

Brothers to pay the Employees in accordance with Davis-Bacon, including the Relator's

immediate supervisor. Steven Hall.

            43.   Relator Sorenson was repeatedly told by co-workers that everybody was being

paid the same way and that it was standard practice for Wadsworth Brothers to shave Davis-

Bacon time off of federal projects.

         44.      Relator also spoke to employees of Wadsworth Brother working on other federal

contract job sites. They also stated that Wadsworth Brothers did not pay full Davis-Bacon

wages.

         45.      Relator Sorenson's co-workers stated that Wadsworth Brothers used this practice

to undercut bidders on other federal projects.

         46.      Relator Sorenson was also told by co-workers and his boss, Steven Hall, that ifhe

complained, he would be terminated.

         47.      Relator Sorenson spoke to Mr. Hall's supervisor, Frank Barney regarding his pay

discrepancy.

         48.      Relator Sorenson then had his hours cut.

         49.      After Relator Sorenson took a day off, he was instructed that he could not return

to work without a full medical release from his doctor.

         50.      After Relator Sorenson produced a medical release, he was told that he was being

laid off.
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        51.    Relator Sorenson was laid off well before the Deicing Project was finished.

        52.    As the prime contractor and entity in privity with the Salt Lake International

Airport, Wadsworth Brothers owed a non-delegable duty to all workers on the Deicing Project to

ensure they were paid the prevailing wages, in accordance with the terms of the Deicing contract

and the Davis-Bacon Act.

        53.    Certification of compliance with the Davis-Bacon Act to the federal government

is a prerequisite to the payment of Wadsworth Brothers.

       54.     Wadsworth Brothers performed work at the Deicing project since the project's

inception and, therefore, has submitted invoices to include certified payrolls up the supply chain

and, inevitably, to the federal government for expenses including Relator Sorenson's wages, and

have been paid in relation to those invoices as a result of the governments reliance on their

certifications of Davis-Bacon Act compliance.

       55.     In order to increase their profits, Wadsworth Brothers represented to the federal

government on each of its invoices involving Relator Sorenson, and possibly other employees'

wages, that the wages Wadsworth Brothers comply with Davis-Bacon despite actually knowing

or operating with reckless disregard for the truth that Wadsworth Brothers did not pay Relator

Sorenson in accordance with the applicable Davis-Bacon Act wage requirements. As a result of

these misrepresentations, the federal government has been damaged by Wadsworth Brothers

monies that Wadsworth Brothers was not entitled to receive.

       56.     In conjunction with the filing of this Complaint, Relator Sorenson has complied

with the requirements of 31 U.S.C. §3730(b).

                                 FIRST CAUSE OF ACTION
                               31 .S.C. §3729(1) Fraudulent Claim
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           57.   Under 31 U.S.C. §3729(1) a person is liable for damages if they knowingly

present, or cause to be presented, to an officer or employee of the United States Gove~ent or a

member of the Armed Forces of the United States, a false or fraudulent claim for payment or

approval.

           58.   Wadsworth Brothers knowingly presented to an employee of the United States a

fraudulent claim for payment under the Deicing project.

           59.   Wadsworth Brothers knew at the time that they presented the claim for payment

under the Deicing project that Wadsworth Brothers was not in compliance with the requirements

of the Davis-Bacon Act.

           60.   The actions of Wadsworth Brothers have damaged the United States and Relator

Sorenson in an amount to be determined at trial.

                                SECOND CAUSE OF ACTION
                                31 U.S.C. §3729(2) False Record

           61.   Under 31 U.S.C. §3729(2) a person is liable for damages if they knowingly

make, use, or cause to be made or used, a false record or statement to get a false or fraudulent

claim paid for or approved by the Government.

           62.   Wadsworth Brothers knowingly created, used and presented to an employee of the

United States a false statement in order to obtain contracts and payments under the Deicing

project.

           63.   Wadsworth Brothers caused false business records to be created for Wadsworth

Brothers to make it appear as though Wadsworth Brothers was paying employees in accordance

with the Davis Bacon Act.
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        64.     Wadsworth Brothers knowingly certified to an employee of the United States that

Wadsworth Brothers was paying its employees in accordance with the Davis-Bacon Act.

        65.     The actions of Wadsworth Brothers have damaged the United States in an amount

to be determined at trial.

                                   TIDRD CAUSE OF ACTION
                             31 U.S.C. §3729(3) Conspiracy to Defraud


       66.      Wadsworth Brothers uses the services of Alliance Benefit Group to administer its

"Profit Sharing" plan through Morgan Stanley.

       67.     The purpose of using the Alliance Benefit Group is to obscure the Davis-Bacon

wages actually due to the Employees of Wadsworth Brothers.

       68.     Wadsworth Brothers misnames the wages due as "Union Benefits".

       69.     Wadsworth Brothers' s actions are designed to confuse its Employees about the

wages that the Employees are entitled to under Davis-Bacon.

       70.     Wadsworth Brothers caused false business records to be created for Wadsworth

Brothers to make it appear as though Wadsworth Brothers was paying employees in accordance

with the Davis Bacon Act.

       71.     Wadsworth Brothers knowingly certified to an employee of the United States that

Wadsworth Brothers was paying its employees in accordance with the Davis-Bacon Act.

       72.     The actions of Wadsworth Brothers have damaged the United States and Relator

Sorenson in an amount to be determined at trial.


                                 FOURTH CAUSE OF ACTION
                                 31 U.S.C. §3729(5) False Receipt
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        73.     Under 31 U.S.C. §3729(5) a person is liable for damages if they authorize to

make or deliver a document certifying receipt of property used, or to be used, by the Government

and, intending to defraud the Government, make or deliver the receipt without completely

knowing that the information on the receipt is true.

        74.     Wadsworth Brothers knowingly created, used and presented to an employee of the

United States, a false receipt in order to obtain contracts and payments under Deicing project.

        75.     Wadsworth Brothers presented receipts to the United States for services and

materials to be paid to an ineligible contractor.

        76.     The actions of Wadsworth Brothers have damaged the United States in an amount

to be determined at trial.

                                    FIFTH CAUSE OF ACTION
                                   31 U.S.C. § 3730(h) Retaliation

        77.    An employer has engaged in wrongful retaliation under the False Claims Act, 31

U.S.C. §3730(h), where a plaintiff/relator demonstrates: (1) the employee engaged in "protected

conduct," defined as lawful acts in furtherance of an FCA action, (2) the employer knew about

the protected conduct, and (3) the employer retaliated against the employee because of the

protected conduct, respectively.

       78.     Relator Sorenson engaged in protected conduct. During the course of his

employment, Relator Sorenson on several occasions, stated to his superiors that he was not being

paid in accordance with the Davis-Bacon wage and fringe benefit requirements where he

believed that Wadsworth Brothers was, essentially, violating the False Claims Act.

       79.     Wadsworth Brothers was aware that Relator Sorenson had engaged in activities in

furtherance of a potential action under the qui tam provisions of the False Claims Act.
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          80.     Defendant Wadsworth retaliated against Relator Sorenson by cutting his hours,

making him obtain a full medical release, and then subsequently terminating Relator Sorenson.

          81.     As a direct and proximate result of the foregoing, Relator Sorenson has suffered

economic and non-economic damages, including lost wages (back pay and front pay), severe

emotional stress and anguish, and irreparable, continuing harm to his career.


                                        RELIEF REQUESTED

          Wherefore, Relator Sorenson, on behalf of himself and in the name of the United States

government respectfully request that the Court grant the following relief:

          1.      For judgment against Wadsworth Brothers in an amount three times the damage

suffered by the United States because of the Defendant's actions.

          2.      For judgment against each Defendant as a civil penalty in the amount of

$11,000.00 for each violation of the False Claims Act.

          3.      That Relator Sorenson be awarded the maximum amounts permitted under 31

U.S.C. 3730(d) for bringing this Qui Tam action.

          4.      That Relator Sorenson be awarded back pay and other damages as may be

appropriate

          5.     For reasonable attorney's fees and cost associated with the persecution of this

action.

          6.     All other relief as the Court may deem appropriate.

          Plaintiff/Relator requests a Jury Trial.

          DATED this 11th day of August, 2016.
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                                Attorney for Plaintiff/Relator
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                EXHIBIT A
                                          Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.14 Page 14 of 66


Contractor              WADSWORTHBR011IERS CONST                                                                              Project and Location                          Job#             Payroll # I 06
Address                 1350 EAST DRAPER PARKWAY DRAPER UT 84020                                                              DEICING APRON                                 2012-06       Week Ending 11/02/2014
                                                                                                                                                                                                   Page#      1

DEICING APRON 34R, PROJECT #55 0110 5253
                                                                         <                      - Day and Date                      -->
:mployee Information                                                    Mon Tue             Wed     Thu Fri    Sat                      Sun     Total         Pay
                                                                        10/27 10128         10/29 10/30 10/31 11/1                     11/2     Hours         Rate      Work Classification                   Check#



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 ab Earn:      1,800.00                 40.00 FICA:              156.83          FIT:       409.38          State:          116.53 Local/SDI:                  0.00 0th Deds:                 0.00 Adj Net            0.00
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  ob Earn:      1,600.00                40.00 FICA:               133.70         FIT:        3 73 .44       State:            119.89 LocaVSDI:                  0.00 0th Deds:           15229 Adj Net:                0.00

  "otEarn:      1,850.00 TotHrs:        40.00 TotDeds:            779.32 UnVac:                 0.00 Benefits:                400.00 Un Misc:                   0.00 Un Dues:                 0.00 Net Pay:       1.070.68
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    )AVIES,.AUSTIN                                         Sex         Eth.
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    CXX-XX-7147 M l                                                           11.00 11.00      11.00         7 .00                                   40.00        25.000 SUPER-25.00/5.00                         29982
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                                          Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.15 Page 15 of 66

Contractor             WADSWORTH BROTHERS CONST                                                                     Pro1ect and Location                       Job#                Pavroll # 106
Address                1350 EAST DRAPER.PARKWAY DRAPER.. UT 84()20                                                  DEICING APRON                              2012-06         :Week Bndin~ 11102/2014
                                                                                                                                                                                     P~e# 2


DEICING APRON 34R... PROJECT #55 0110 5253
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imployee Information                                                   Mon Tue         Wed Thu Fri        Sat               Sun        Total      Pav
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ob Earn:       2,031.25               67.50FICA:               139.90       FIT:      238.18     State:        104.99 Local/SDI:                  0.00 0th Deds:           25Q.79 Adj Net             0.00
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  TRANE. TRACY                                        Sex         Eth.
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  'OCX-XX-8870 M 4                                                        8.00 8.00      8.00     8.00       8.00                       40.00        33.500 FIELD ENGINEER $29/2.50                30078
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   rot Earn:      1,590.00 Tot Hrs:      40.00 TotDeds:          495.54 Un Vac:            0.00 Benefits:           300.00 Un Misc:                 0.00 Un Dues:                 0.00 Net Pay:      1,094.46
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   ~BRTON,CHRISTOPHER                                    Sex      Eth.
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   CXX-XX-0724 M 8                                                         8.00 8.00      8.00     8.00      8.00                       40.00         35.000 BATCH PLANT O~PERATOR 29970
                                              Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.16 Page 16 of 66

Contractor               WADSWORTII BROTHERS CONST                                                                          Project and Location                       Job#             Pavroll # 106
Address                  1350 EAST DRAPER PARKWAY DRAP~ UT 84020                                                            DBICffiG APRON                             2012-06       Week Ending 11/02/2014
                                                                                                                                                                                          Page# 3

DEICING APRON 34R, PROJECT #55 0110 5253
                                                                          <                        Day and Date                         >
~mployee     Information                                                  Mon       Tue     Wed        Thu Fri     Sat               Sun       Total       Pay
                                                                          10/27 10128      10129       10/30 10/31 1111              11/2      Hours       Rate    Work Classification                Check#
lob Earn:         1,400.00                40.00 FICA:             129.85         FIT:      121.63       State:            75.99 Local/SDI:                 0.00 OthDeds:          20~.62    AcljNet          0.00
rot Earn:         1,900.00 Tot Hrs:       40.00 Tot Deds:         530.09 Un Vac:             0.00 Benefits:              100.00 Un Misc:                   0.00 Un Dues:            0.00 Net Pay:         1,369.91
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XXX-XX-4145 M 6                                                            8.00     9.00    9.50       8.50       5.00                       40.00          18.000CARP17.13/1.00                      29949
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                                                                                                                                     125PLAN                 6.02 PENS LNS           60.56

     CHAFFIN, JARED                                       Sex       Eth.
                                                           M         5           White                                                                                        &wvvv-y
     XXX-XX-7816 Ml                                                            8.00 8.00      8.00       8.00       8.00                        40.00        26.000 FIELD ENGIN HR)LY 1                   29969
     Job Earn:      1,040.00                40.00FICA:                  83.19      FIT:      109.89        State:            32.76 Local/SDI:                0.00 0th Deds:         2oi.62 Adj Net:               0.00
     Tot Earn:      1,290.00 Tot Hrs:       40.00 Tot Deds:         428.46 Un Vac:              0.00 Benefits:               80.00 Un Misc:                  0.00 Un Dues:                0.00 Net Pay:       861.54
                                                                                                                                      125PLAN              202.62

     CARTER GORDON                                          Sex         Eth.
                                                              M          5        White
     XXX-XX-0215 M 1                                                           10.00         10.00       11.00       9.00                        40.00        25.000 OPERATOR-DOZER                        29967
                                                                                                                     2.00     7.50                9.50        37 .500 OPERATOR-DOZER
     Job Earn:       1,356.25                49.50 FICA:                103.76      FIT:      150.22        State:            68.92 Local/SDI:                0.00 0th Deds:             133.15 Adj Net:           0.00
      Tot Earn:      1,3 56.25 Tot Hrs:      49 .50 Tot Decls:          456.05 Un Vac:             0.00 Benefits:            655.25 Un Misc:                  0.00 Un Dues:                0.00 Net Pay:       900.20
                                                                                                       -th~~~~::>           LP Gu lh CHILD                  133.15



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Contractor           WADSWORTH BROTHERS CONST                                                                                Pro1ect and Location                     Job#            Pavroll # 106
Address                1350 EAST DRAPER PARKWAY DRAPER, UT 84020                                                             DEICING APRON                           2012-06       Week Emling 11/02/2014
                                                                                                                                                                                        P~e# 4


DEICING APRON 34R., PROJECT#55 0110 5253
                                                                   <--------·Day and Date-----..?
~mployee Information
                                                                  Mon Tue     Wed Thu Fri       Sat   Sun                                       Total     Pav
                                                                  10/27 10/28 10/29 10/30 10/31 11/1 11/2                                       Hours     Rate   Work Classification                   Check#
v1CCLELLAN, KIRKLAND                           Sex         Eth.
                                                   M        5          White                                                                                          o'lA.V~
OCX-XX-2620 S 0                                                       9.00     9.00      10.00      12.00                                    40.00        20.000 FIBLD ENGINEER             30038
                                                                                                     1.50 l LOO             8.00             20.50        30.000 FmLD ENGINEER
                                                                                                                                                                   '·
ob Earn:      1,415.00              60.50FICA:             107.79            FIT:        261.74         State:              80.96 Local/SDI:              0.00 0th Deds:      6.02 Adj Net:       0.00
~otEam:       1,415.00 TotHrs:      60.50 TotDeds:         456.51 Un Vac:                     0.00 Benefits:              121.00 Un Misc:                 0.00 Un Dues:           ·o.oo Net Pay:         958.49
                                                                                                                                 125PLAN                  6.02

 fALBOT, MARK                                    Sex       Eth.
                                                   M        5           White
 iQCX-XX-2403 M 0                                                     7.50 3.50              3.50       5.00                                   19.50       27.110 MECHANIC                             30074
                                                                                                                   4.00      1.00               5.00       40.670 hffiCHANIC
                                                                       3.00     3.00         3.00       3.00                                    12.00      20.020 WATBR TRUCK 2500-4000 GA
                                                                                                                   4.00      3.00                7.00      30.030 WATER TRUCK2500-4000 GA
 fob Earn:     1,182.44              43.50 FICA;            111.06            FIT:           175.93       State:             77.34 Local/SDI:              0.00 0th Deds:          75.42 Adj Net:              0.00
 rotEam:       1,457.72 TotHrs:      55.50 TotDeds:         439.75 Un Vac:                     0.00 Benefits:               561.10 UnMisc:                 0.00 Un Dues:               0.00 Net Pay:     1,017.97
                                                                                                      f1\i5:.{xf10        t.JID.'fl 125PLAN                6.02 PENS LNS           69.40

 FELY. TRAVIS                                      Sex       Eth.
                                                       M      6           Two or More Races
  X:XX-XX-9388 M 1                                                      8.00 9.00     8.50 13.00                                                38.50       19.000 CEMENT FINISHER                      29995
                                                                                                                     5.00      2.00              7.00       28.500 CElv.IBNT FINI~R
                                                                                                                     1.50                         1.50      19.000 OP CONCRETE F:i:NISHING MA
                                                                                                                     4.00                         4.00      28..500 OP CONCRETE F~J:IlNG MA
  Job Earn:     1,073.50              51.00 FICA:               82..13         FIT:          107.80        S1ate:              48.71 Local/SDI:             0.00 OthDeds:               0.00 Adj Net             0.00
  Tot Earn:     1,073.50 Tot Hrs:     51.00 Tot Deds:        238.64 Un Vac:                     0.00 Benefits:               161.18 Un Misc:                0.00 Un Does:               0.00 Net Pay:          834.86
                                                                                                      -n,,~~'~               f\o r.   lg
  HERR.EM MARCELINO                                  Sex        Etb.
                                                       M          2          Hispanic/Latino
  XXX-XX-6958 M 3                                                        8.00        9 .50     4.00       9.00       5.50                         36.00      19.000 CEMBNTFINISHER                       30010
                                                                                                                                 2.00              2.00      28.500 CEMENT FINISHER
                                                                                               4.00                                                4.00      19.000 OP CONCRETE FINISIDNG MA
                                                                                                                      4.50       6.00             10.50      28.500 OP CONCRETE FINISHING MA
                                           Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.18 Page 18 of 66

Contractor              WADSWORTH BROTHERS CONST                                                                                Project and Location                       Job#                 Pavroll # 106
Address                 1350 EAST DRAPER PARKWAY DRAPER UT 84020                                                                DEICING APRON                             2012-06       Week Ending 11/0212014
                                                                                                                                                                                             Page# 5

DEIClliG APRON 34R. PROJECT #55 0110 5253
                                                                          <--------~--Day and Date------->

.mployee Information                                                     Mon Tue               Wed         Thu Fri     Sat               Son       Total       Pay
                                                                         10/27 10/28           10/29       10/30 10/31 11/1              11/2      Hours       Rate   Work ClassificatioD;                   Check#
                1,116.25               52.SOFICk                84.93         FIT:             90.52        State:            51.02 Local/SDI:                0.00 0th Deds:            6~02 Adj Net              0.00
otEarn:         l, 116.25 Tot Hrs:     52.50 Tot Deds:         232.49 Un Vac:                   0.00 Benefits:               196.27 Un Misc:                  0.00 Un Dues:             0~00 Net Pay:            883.76
                                                                                                   -f'hl~jfu             I')   u. 'V,   125 PLAN              6.02



 OHNSON, WU.LIS                                    Sex          Eth.
                                                      M          5          White
 XX:-XX-8570 S 5                                                          8.00 10.00           9.00        9.00       4.00                         40.00       20.000 LABORER PD                           30018
                                                                                                                      6.00     8.00                14.00        30.000 LABORERPD
    Jb Earn:     i,220.00               54.00 FICA:              85.51         FIT:             9 5.48       State:            55.40 LocaVSDI:                 0.00 0th Deds:          175i56 Adj Net               0.00
    otEarn:      1,220.00 Tot Hrs:      54.00 Tot Deds:         411.95 Un Vac:                   0.00 Benefits:               29 I .60 Un Misc:                 0.00 UnDues:             0100 Net Pay:            808.05
                                                                                                         n'; ${)1Jo          'Z"ti. llD 125 PLAN              102.29 CHILD              73~27

    1UARDADO, SALVADOR                                Sex        Eth.
                                                         M        2          Hispanic/Latino
    ~-XX-3252       M4                                                    8.00       9.00       8.50        9.00       5.50                        40.00        18..500 CBlvlENT FINISHBR                    30006
                                                                                                                       2.50     6.00       11.00   19.50        27 .750 CElvIBNT FINISHER
    :>bEarn:      1,281.13               59.SOFICk                98.01          FIT:           I 04. 77      State:            69.00 Local/SDI:                0.00 0th Deds:           25 :34 AQj Net:              0.00
     otEarn:      1,281.13 Tot Hrs:      59.50 Tot Deds:        297 .12 Un Vac:                   0.00 Benefits:               166.01 UnMisc:                   0 .00 Un Dues:               0;00 Net Pay:         984.01
                                                                                                    11'\-l~ is~                / lPf/, D\ PENS LNS             2534

     OANE, PITONE                                     Sex        Eth.
                                                          M          6       Two or More Races
     OCX-XX-2519 M 3                                                        8.00      9.00       8.50        9.50       5.00                         40.00       19.000 CEMENT FINISHER                         30016
                                                                                                                        3.00     7.00                10.00       28.500 CEMENT FlNISHER
     ob Earn:     1,045.00                50.00FICA:                 79.49         FIT:           79.84        State:            57.65 Local/SDI:                0.00 0th Deds:              31 ~02 Adj Net             0.00
     "otEarn:      1,045.00 Tot Hrs:      50.00 TotDeds:         248.00 Un Vac:                    0.00 Benefits:               139.51 UnMisc:                   0.00 Un Dues:                0~00   Net Pay:      797.00
                                                                                                         n'\· 1.sJelo           1?11. 5/   125 PLAN              6.02 PENS LNS               25.00

      )JEDA, FRANCISCO                                   Sex         Eth.
                                                           M          2       Hispanic/Latino
      acx:-XX-1999 M 1                                                       8.00       9.00      8.50        9.00      5.50                          40.00       15.000 LABORER 15.00/1.00                     30051
                                                                                                                        2.50      7.00                 9.50       22.500LABORER15.00/1.00




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Contractor             WADSWORTH BROTHERS CONST                                                                              Protect and Location                      Job#                Payroll# 106
Address                1350 EAST DRAPER PAKE.WAY DRAPER. UT 84020                                                            DEICJNG APRON .                           2012-06       Week Encling 11/0212014
                                                                                                                                                                                              Page#      6

DEIClliG APRON 34R. PROJECT #55 0110 5253
                                                                         <                       Day and D a t e - - - - -

~ployee      Information                                                Mon Tue          Wed        Thu Fri     Sat                 Sun      Total        Pay
                                                                        10/27 10/28      10/29      10/30 10131 11/1               11/2      Hours        Rate     Work Classification                   Check#
·obEam:          813.75               49.50 FICA:              62.25        FIT:         68.84       State:             32.34 Local/SDI:                 0.00 0th Deds:            55.77 Adj Net              0.00
fat Earn:        813.75 Tot Hrs:      49.50 Tot Deds:         219.20 Un Vac:              0.00 Benefits:                131.67 Un Misc:                   0.00 Un Dues:             0.00 Net Pay:            594.55
                                                                                                 ~i~J~                 lot llI ClllLD                    55.77



BROWN, LESTER                                       Sex        Eth.
                                                      M         5          White
KXX-XX-3883 M 1                                                         lLOO 11-00       11.00       7.00                                    40.00         18310 TRUCK DRIVER-SWEEPER 29960
                                                                                                     4.00                                     4.00         27.465 TRUCK DRIVER-SWEEPER
Iob Earn:         842.26               44.00 FICA:              63.98        FIT:        172.21        State:            38.57 LocaVSDI:                   0.00 OthDeds:            80.07 Adj Net               0.00
 fat Earn:         842.26 Tot Hrs:     44.00 Tot Deds:         354.83 Un Vac:              0.00 Benefits:               370.92 Un Misc:                    0.00 Un Dues:             <too NetPay:             487.43
                                                                                                n,1~~                   cnoPn... 12s PLAN                  6.02 PENS LNS            74.os
 HAYNES, JAMES                                       Sex        Eth.
                                                      M          5          White
 XXX-XX-0464 M 2                                                        11.00                                                                   11.00       21.600 ROLLER-GRADE COMPACTIO"B008
                                                                                 10.50    11.00                                              21.50          21.600 TRUCK DRIVER
  Job Earn:        702.00               32.50 FICA:              53.24          FIT:       39.78        State:               27.33 Loca1/SDI:              0.00 0th Deds:                6.02 Adj Net:            0.00
  Tot Earn:        702.00 Tot Hrs:      32.50 Tot Deds:         126.37 Un Vac:                 0.00 Benefits:            345.00 Un lvfisc:                  0.00 UnDues:                 0.00 Net Pay:         575.63
                                                                                         111   ·1s. <J'Sla             .34~ '-"b    125 PLAN                6.02

  HAYNES, PATRICIA                                      Sex      Eth.
                                                          F         5       White
  XXX-XX-8826 M 0                                                        11.00 l 0.50     11.00                                                 32.50       21-060 ROLLER-GRADE CO:MPACT1G]009
   Job Earn:        684.45               32.50 FICA:                51.90       FIT:        59.94            State:           31.03 LocaVSDI:               0.00 0th Deds:                6.02 Adj Net            0.00
   Tot Earn:        684.45 Tot Hrs:      32.50 Tot Deds:         148.89 Un Vac:                0.00 Benefits:                468.33 Un Misc:                0.00 Un Dues:                 0.00 NetPay:          535.56
                                                                                                  lhi~        0}Y:>          11l#g.3? 125 PLAN              6.02

   PIN'O, JASON                                         Sex         Eth.
                                                          M         5        White
   XXX-XX-1988 M 4                                                                  10.50 . 10.50      10.00          2.00                       33.00          17.000 TRUCK DRIVE~                          30058
                                                                                                                      8.50                        8.50          25.500 TRUCK DRIVER:;!
                                            Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.20 Page 20 of 66


Contractor                 WADSWORTH BROTHERS CONST                                                                             Project and Location                         Job#             Payroll # 106
Address                    1350 EAST DRAPER PARK.WAY DRAPER, UT 84020                                                          DEICING APRON                                 2012-06       Week Ending 11/02/2014
                                                                                                                                                                                                   Page# 7

DEICING APRON 34R PROJECT #55 0110 5253
                                                                          <-                     Day and D a t e - - - - -
~mployee     Information                                                 Mon Tue              Wed Thu Fri     Sat     Sun                         Total        Pay
                                                                         10/27 10/28          10/29     10/30 10/31 11/1                11/2      Hours        Rate      Work Classification                   Check#
fob Earn:        777.75                 41.50 FICA:               53.10         FIT:          22. 78       State:            22.40 Local/SDI:                  0 .00 0th Deds:         Tl? .62 Adj Net             0.00
rot Earn:         896.75 Tot Hrs:       48.50 Tot Deds:          325 .90 Un Vac:               0.00 Benefits:                41.50 Un Misc:                    0.00 Un Dues:· .           0.00 Net Pay:          570.85
                                                                                                                                       125PLAN               202.62 PENS LNS             25.00


SINK, l\1ICHAEL                                       Sex         Eth.
                                                        M          5        White
XXX-XX-3170 M 0                                                           8.00 8.00           8.00         8.00      8.00                        40.00          24.000 OP-CONCRETE FINSISH :tv1ACM069
Job Earn:         960.00                 40.00 FICA:              63.48         FIT:           82.65        State:             40.57 Local/SDI:                 0.00   0th Deds:         130.18 Adj Net:            0.00
 Tot Earn:        960.00 Tot Hrs:        40.00 Tot Deds:          316.88 Un Vac:                0 .00 Benefits:              111.60 Un Misc:                    0.00 UnDues:               0.00 Net Pay:          643.12
                                                                                                                                    125PLAN                   130.18

 SULLIVAN, EDWARD                                      Sex         Eth.
                                                          M         5          White
 XXX-XX-3452 S 0                                                                  10.50                                                           10.50          25.450 BLADE OPERATOR                         30073
                                                                          11.00                                                                   11.00          23.930 OPBRATOR--DOZBR
                                                                                                                     11.00      7.50              18.50          35.900 OPBRATOR-DOzER
                                                                                              11.00         7.50                                  18.50          23.930 OP/FRONT BND LOADER
                                                                                                            3.50                                     3.50        35.900 OP/FRONT END LOADER
  Job Earn:       1,762.95                62.00 FICA:              134.41         FIT:         348.72        State:            102.88 Local/SDI:                 0.00 0th Deds:           132.74 Adj Net                0.00
  Tot Earn:       1,762.95 TotHrs:        62.00 Tot Deds:          718.75 Un Vac:                0 .00 Benefits:               893.32 Un Misc:                   0.00 UnDues:                  0.00 Net Pay:     1,044.20
                                                                                                  ~-·~{)db                   ic.13. o Z.. 125 PLAN               6.02 PENS LNS            126.72
  HALL. STEPHEN                                           Sex       Eth.
                                                           M         5          White
  XX.X-XX-0778M1                                                                       7.50     3.00                                                 10.50        18.760 CEMENT MIXERTRUCK                      30007
                                                                                                             5.00       5.00     7.50                17.50        28.140 cBMBNTMIXERJTRUCK
                                                                           12.00       2.00      8.50        7 .00                                   29.50        18.610 TRUCK DRIVER~
                                                                                                            . 0.50      7.00                          7.50        28.140 TRUCKDRIVEI0
   Job Earn:       1,449.47                65.00 FICA:                 110.42      FIT:         163 .3 0       State:            76.82 LocaVSDI:                  0.00 0th Deds:                6.02 Adj Net             0.00
   Tot Earn:       I ,449.47 Tot Hrs:      65.00 Tot Deds:             356.56 Un Vac:              0.00 Benefits:               350.35 Un Misc:                   0.00 Un Dues:                 0.00 Net Pay:      1,092.91
                                                                                                11\i&{:foo                   ouD. oo      125 PLAN                6.02

    BENNETT.. WAYDE DILLEN                                 Sex          Eth.
                                                              M
   XXX-XJ.{-1451M4                                                                                                                7.50                7.50           35.900 OFFICE/ACCOUNTING                    29955
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Contractor            WADSWORTHBROTHERS CONST                                                                             Proiect and Location                        Job#           Payroll# 106
Address               1350 EAST DRAPER PARKWAY DRAPER. UT 84020                                                           DBICThlG APRON                              2012-06     Week Ending 11/0212014
                                                                                                                                                                                       Page# 8

DEICING APRON 34R. PROJECT #55 0110 5253
                                                                      <               Day and Date----->
Employee Information                                                 Mon Tue     Wed    Thu Fri    Sat   Stm                                   Total      Pay
                                                                     10/27 10/28 10/29 10/30 10/31 11/1 11/2                                   Hours      Rate   Work Classification                   Check#
XXX-XX-1451 M 4                                                     11.00 11.00 11.00   7.00                                               40.00          23.000 ROLLER- 14.00/3.3 l                 29955


                                                                                                   4.50 11.00                              15.50           34.500 ROLLER~ 14.00/331
Job Earn:      1,724.00              63.00 FICA:              11639       FIT:          140.80       State:             74.52 Local/SDI:                  0.00 OthDeds:         24'3.99 Adj Net:               0.00
Tot Earn:      1,,724.00 TotHrs:     63 .00 Tot Deds:         575.70 Un Vac:              0.00 Benefits:               799.76 Un Misc:                     0.00 UnDues:           0.00 Net Pay:            1.,148.30
                                                                                         ·tk.ibJ'o                /qet. ;q          125 PLAN             202.62 PENS LNS         4.1.37
:MATAGI, LLOYD                                     Sex        Eth.
                                                    M          6        Two or More Races
XXX-XX-0951 S 9                                                             7.50                                                                7.50       18.760 CEMENT lv.IIX.ERl TRUCK             30037
                                                                                                                6.00      8.00                 14.00       28.140 CEMENTMIXERlTRUCK
                                                                     11.00      2.00    10.00        9.50                                      32.50       18.610 TRUCKDRIVBRQ
                                                                                                     3.00       6.00                            9.00       28.140 TRUCK. DRIVERS
 Job Barn:      1,392.75              63.oo· FICA:             98.72         FIT:.       75.81         State:            51.86 Local/SDI:                  0.00 0th Deds:        197.58 Adj Net                 0.00
 Tot Earn:      1,392.75 TotHrs:      63.00 Tot Deds:          423.97 Un Vac:              0.00 Benefits:               288.65 Un :Misc_:                  0.00 Un Dues;           0.00 Net Pay:              968.78
                                                                                                 f'h ·,<..Jib          •z,gg. wt> 125 PLAN                102.29 ClfilD           $.61 PENS LN~                30.68

  ORTAR. KRISTAN                                     Sex        Eth.
                                                      M         5        White
 XXX-XX-8475 M O                                                        8.00     9.00     8.50        8.00       6.50                          40.00        14.000LABOR14.52/1.00                      30052
                                                                                                                 1.50     7.00                  8.50        21.000LABOR14.52/1.00
  Job Earn:       738.50               48.50·FICA:              56.50          FIT:       68.95         State:            32.41 Local/SDI:                  0.00 0th Deds:          :0.00 Adj Net                0.00
  Tot Earn:       73 8.50 Tot Hrs:     48 .50 Tot Deds:         157.86 Un Vac:              0.00 Benefits:               129.01 Un Misc:                    0.00 Un Dues:           '.0.00 Net Pay:            580.64
                                                                                                    t1n\~~               1'2Pl.D\
  CARTER, TERI                                       Sex        Eth.
                                                        F        5        White
  XXX-XX-0806 M 1                                                                                                11.00     7.50                 18.50        18310 TRUCK DRIVER;gWEEPER 29968
  Job Earn:        338.73               18.50 FICA:              25.45         FIT:         9.42         State:             7 .02 LocaJ/SDI:                 0.00 0th Deds:          ~.02AdjNet                   0.00
                                                                                                                                                                                       I

   Tot Earn:       338.73 Tot Hrs:      1850 TotDeds:            47.91 Un Vac:              0.00 Benefits:                155 .96 Un :Misc:                  0.00 Un Dues:                 0.00 Net Pay:       290.&2
                                                                                                -rhih ~'6b                I c>&, qtpl25 PLAN                 6.02

   SEARS, IBFFREY                                       Sex      Eth.
                                                         M          5        White
   XXX-:XX-1135 M 0                                                                                               2.00                            2.00        28.000 CRANE OPER $28/923                     30065
                                                                                                                   2.00                           2.00        42.000 CRANE OPER $2S/9 .23
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Contractor             WADSWORTH BROTHERS CONST                                                                             Project and Location                       Job#                Pavroll # 106
Address                  1350 EAST DRAPER PARKWAY DRAPER, UT 84020                                                          DEICING APRON                             2012-06      · Week Ending 11/0212014
                                                                                                                                                                                          Pa,q;e # 9

DEICJNG APRON 34R PROJECT #55 0110 5253
                                                                       <                         Day and Date-------..;:>
Employee Infonnation                                                  Mon Tue            Wed        Thu Fri      Sat                     Sun   Total     Pay
                                                                      10/27 10/28        10/29      10/30 10/31 11/1                    11/2    Hours    Rate     Work Classification                   Check#
Job Earn:       140.00                 4.00 FICA:             92.11        FIT:          13 8.77      State:           64.14 Local/SDI:                  0.00 0th J?eds:           0.00 Adj Net:             0.00
Tot Earn:      l,204.00 TotHrs:       42.00 TotDeds:         295.02 Un Vac:                0.00 Benefits:              186.92 Un Misc:                   0.00 Un Dues:-            0.00 Net Pay:           908.98



HERRERA.ALBERTO                                     Sex       Eth.
                                                     M        2         Hispanic/Latino
XXX-:XX-5278 S 2                                                      8.00 9.00      8.50            9.00       5.50                           40.00      13.000 LABORER                             30011
                                                                                                                3.00       7.00                10.00      19.500 LABORER
Job Earn:        715.00                50.00 FICA:            54.24         FIT:           68.35       State:              32.05 Loca1/SDI:              0.00 OthDeds:              6.02 Adj Net:             0.00
Tot Earn:        715.00 Tot Hrs:      50.00 TotDeds:          160.66 Un Vac:                0.00 Benefits:             133.00 Un Misc:                    0.00 Un Dues:             0.00 Net Pay:           554.34
                                                                                                 ·111f ~JL<\o
                                                                                                       &               13'3'· <m 125 PLAN                 6.02

 CASTRO. DAVID                                       Sex      Eth.
                                                       M       5          White
 XXX-XX-2470 M 0                                                      12.00       9.00                                                         21.00       18.310 TRUCK DRIVER.jSWBEPER 29935
 Job Earn:        384.51               21.00 FICA:             29.42          FIT:         22.20        State:                0.00 Loca1/SDI:             o.oo   Oth Deds:              b.oo Adj Net           o.oo
 Tot Earn:        384.51 TotHrs:       21.00 Tot Deds:         51.62 Un Vac:                 0.00 Benefits:                177 .03 Un Wsc:                0.00 UnDues:                  ~.00 Net Pay:       332.89
                                                                                                     i1\1~<J'W             ,..,...,_ i)C,
  INGLEBY. RYAN                                      Sex       Eth.
                                                       M          5       White
  xxx-xx-12s·9 M i                                                     10.00 10.00          9 .00      8.50         2.50                        40.00      23.930 OP/FRONT END LOADER                     30015
                                                                                                                    8.50      7.50               16.00     35.900 OP/FRONT END i,OADER
  Job Earn:      1,531.60               56.00 FICA:            117.17         FIT:         17 6.52         Siate:            82.3 8 Local/SDI:             0.00 0th Deds:               0.00 Adj Net              0.00
  Tot Earn:      1,531.60 Tot Hrs:      56.00 Tot Deds:        376.07 Un Vac:                 0.00 Benefits:               806.88 Un Misc:                 0 .00 Un Dues:               0.00 Net Pay:       1,155.53
                                                                                                --rh-, ~~1\?               abll. gr;t
   CARPENTER. JOSHUA                                   Sex        Eth.
                                                        M          5        White
   XXX-:XX-7416 S I                                                      11.00 10.50       11.00        7.50                                     40.00      21.060 ROLLER~GRADE cmv1PACTIQP)966
                                                                                                        3.50 11.00             7.50              22.00      31.590 ROLLER-GRADE COMPACTI01'
   Job Earn:      1,537.38               62.00 FICA:              110.77       FIT:         252.49         State:              81.01 Local/SDI:             0.00 0th Deds:              89 .41 Adj Net:           0.00
   Tot Earn:      1,537.38 Tot Hrs:      62.00 TotDeds:           533.68 Un Vac:               0.00 Benefits:               893 .42 Un Misc:                0.00 Un Dues:                0.00 Net Pay:      . l,003.70
                                                                                                      tlfiA.~*'             8'/'?>.lJ2--125 PLAN           89.41
                                           Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.23 Page 23 of 66


Contractor               WADSWORTH BROTHERS CONST                                                                                       Project and Location                        Job#                 Payroll# 106
Address                  1350 EAST DRAPER P.AF.KWAY DRAPER, UT 84020                                                                    DEICING APRON                               2012-06        Week Ending 11/0212014
                                                                                                                                                                                                           Paf!.e#      10

 DEICING APRON 34R. PROJECT #55 0110 5253
                                                                           <                             Day and D a t e - - - - -
Employee In:formation                                                     Mon Tue             Wed          Thu Fri      Sat   SUn                            Total      Pav
                                                                          10/27 10/28         10/29        10/30 10131 11/1  1112                            Hours      Rate    Work Classification                   Check#
CHIEN-HUA, JAMES                                   Sex          Eth.
                                                       M         4          Asian
XX:X-XX-1823 M 5                                                          8.00 9.00               8.50       9.00         5.50                              40.00        13.000 LABORER                              29971
                                                                                                                          2.50        7.00                   9.50        19.500 LABORER
Job Earn:          705.25               49.50 FICA:             45.06           FIT:               4.67         State:                13.3 8 Local/SDI:                 0.00 0th Deds:         11 ~.24 Adj Net:               0.00
Tot Earn:          705.25 TotHrs:       49.50 TotDeds:          17935 Un Vac:                      0.00 BenefitS:                  131.67 Un Misc:                       0.00 Un Dues:             0.00 Net Pay:             525.90
                                                                                                           -/1'1 ·1& ..)'f}o      lot, tt1 125 PLAN                    116.24

 MORfilSON, MICHAEL                                   Sex       Eth.
                                                        M        5            White
 XXX-XX-1836 M4                                                              8.00     9.00        8.50         9.50        5.00                             40.00        20.500 CBlv1ENT FINIS$R 16.13                30044
                                                                                                                           3.00         7.00        11.00   21.00        30.750 CEMENT FINISHER 16.13
 Job Earn:         1,465.75              61.00 FICA:            112.13              FIT:          132.46          State:              71.02 LocaVSDI:                    0.00 0th Deds:            61.62 Adj Net:              0.00
 Tot Earn:         1,465.75 Tot Hrs:     61.00 TotDeds:         377 23 Un Vac:                      0.00 Benefits:                    170.20 UnMisc:                     0.00 Un Dues:                0.00 Net Pay:      1,088.52
                                                                                                           -Yhi:~Jd\?                 no. z.,o
                                                                                                                                             CHILD                      61.62
  MANSANA:REZ, ADRIAN                                  Sex       Eth.
                                                         M           2         Hispanic/Latino
  XXX-XX-7191 M 7                                                            8.00      9.00        8.50         9.00           5.50                          40.00        18.750 CEMENT FINISHER 19                   30034
                                                                                                                               2.50      7.00                 9.50        28.130 CB'MBNT FINISHER 19
   Job Earn:       1,017.25               49.50 FICA:                77.82          FIT:           32.3 0          State:               35.55 Local/SDI:                  0.00 0th Deds:              0.00 Adj Net:             0.00
   Tot Earn:        1,017.25 Tot Hrs:    49.50 TotDeds:          145.67 Un Vac:                      0.00 Benefits:                    138.12 UnMisc:                     0.00 Un Dues:               0.00 Net Pay:           871.58
                                                                                                              1111..or.o               t?P.12-
     MANSAN.AlIBZ, CHASE                                Sex          Eth.
                                                           M          5         White
     XXX-XX-5403 S 6                                                          8.00 . 9.00           8.50          9.50         5.00                           40.00        15.000LABORER15.00/1.00                      30035
                                                                                                                               3.00       5.50                 8.50        22500LABORER15.00/1.00
       Job Earn:      791.25              48.50 FICA:                 60.53          FIT:           35.12            State:              27 .62 Loc8l!SDI:                 0.00 0th Deds:              0.00 Adj Net:             0.00
       Tot Earn:      791.25 Tot H!s:     48.50 TotDeds:             123.27 Un Vac:                      0 .00 Benefits:                129.01 Un Misc:                    0.00 Un Dues:               0 .00 Net Pay:          667.98
                                                                                                              i1k\rs(SOO                1-v:i.o \
         WOLFGR.AMiv1, VILIAMI                           Sex         Eth.
                                                            M            1       Native IDJPac. Islander
         X:XX-XX-9611 S 1                                                     10.50 2.00 10.50        9.50                                                     32.50        18.000 TRUCK 3 :j .·                         30088
                                                                                                                   ·2.00        6.00                            8.00        27.000 TRUCK3_)
                                                                                           7.50                                                                 7.50        18.760 CEMBNT11IXER TRUCK
                                                                                                                                 5.00      7.50                12.50        28.140 CEMENTlvllXERTRUCK
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                                                Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.24 Page 24 of 66


Contractor             WADSWORTH BROTHERS CONST                                                                               Project and Location                          Job#             Payroll # 106
Address                    1350 EA.ST DRAPER PARKWAY DRAPER, UT 84020                                                         DEICING APRON                                 2012-06       Week End.mg 11/02/2014
                                                                                                                                                                                                   Page# 11

DEICING APRON 34R, PROJECT #55 0110 5253
                                                                         <----------Day and D a t e - - - - -
Employee Information                                                    Mon Tue     Wed Thu Fri        Sat  Sun                                  Total        Pav
                                                                        10/27 10/28 10/29 10/30 10/31 1111 1112                                  Hours        Rate      Work Classification                   Check#
Job Earn:       1,293.45              60.50 FICA:             98.95          FIT:       213 .86        State:               71.28 Local/SDI:                  0.00 0th Deds:              0.00 Adj Net            0.00
Tot Earn:       1,293.45 TotHrs:      60.50 Tot Deds:        384.09 Un Vac:                 0 .00 Benefits:             251.11 Un Misc:                       0.00 Un Dues:               0.00 Net Pay:         909.36
                                                                                                t'h iS.~~               2,&1. 1l


HIGHAM, ROBERT                                      Sex       Eth.
                                                     M         5          White
XXX-XX-0106 S 3                                                         8.00     9.00       8.50      9.00       5.50                            40.00         13.000 LABORER                              30012
                                                                                                                 2.50        7.00                 9.50         19.500 LABORER
 Job Earn:        10525                49.SOFICA;              53.96           FIT:         56.40       State:               29.41 Local/SDI:                  0.00 0th Deds:             58.31 Adj Net:           0.00
 Tot Earn:        705.25 TotHrs:       49.50 TotDeds:         198.08 Un Vac:                 0.00 Benefits:                 131.67 Un Misc:                    0.00 Un Dues:               0.00 Net Pay:         507.17
                                                                                                   thi~<l6'o                I of.lt1 CHILD                    5831

 SORENSON. KELLY                                    Sex        Eth.
                                                     M          6           Two or More Races
 XXX-XX-5473 M 7                                                                                      12.50          7.00                         19.50         18.500 TRUCKDRIVBRt71 .                       30071
                                                                                                                     5.00      8.00               13.00         18.760 CEMENT MIXERIT'RUCK
  Job Earn:        604.63               32.50 FICA:             46.26           FIT:          0.00        State:                9.55 Loca.VSDI:                 0.00 OthDeds:                 0.00 Aqj Net             0.00

  Tot Earn:        604.63 Tot Hrs:      32.50 Tot Deds:         55.81 UnVac:                  0.00 Benefits:                 155.61 Un'Misc:                    0.00 Un Dues:                 0.00 Net Pay:       548.82
                                                                                                     ;1;\.~ o'f'.p           l !>!i.tel
  TORRES. CONRADO                                     Sex       Eth.
                                                       M            2       Hispanic/Latino
  XXX-XX-4031 S l                                                         8.00 9.00      8.50            9.00        5.50                         40.00          13.000 LABORER                                30077
                                                                                                                     2.50       7.00               9.50          19..500 LABORER

   Job Earn:        705.25               49.SOFICA:                 53.96        FIT:        79.19         State:              34.22 Local/SDI:                  0.00 0th Deds:               0.00 AdjNet              0.00

   Tot Earn:        705.25 TotHrs:       49 .50 Tot Deds:       167.37 Un Vac:                 0.00 Benefits:                 131.67 Un Misc:                    0.00 UnDues:                  0.00 Net Pay:       537.88
                                                                                                    -t'h l~d~                I ol. !4'1




              Emp. Count           Job Hours            Job Gross              FICA Taxes                       FIT                Stare Taxes           Total Deduct       Total Gross        Adjustments                Net
                      45             2,133.50         52)79.80                   4,096.01               6,202.06                    2,650.88              16. 269.01         55,738.08                0.00       39.469.07
                                                    Case 2:16-cv-00875-CW Document 1 Filed 08/11/16 PageID.25 Page 25 of 66

                                                                                                                                     (a) Where ftinae benefits are vaid to approved plans.. funds. or proATams
 I.       LORI WADSWORTH. CONTROLLER



                                                                                                                                      ~
                                                                                                                                                 additian to the basic hourly wage rates paid to each laborer or mechanic
 do hereby state:
                                                                                                                                                 ted in the above remrenced payro~ payments of fiinge benefits as
                                                                                                                                              listed in the conttact have been or will be made to apuropriate oro,l!I'amS
                                                                                                                                                 r. the benefit of such <mllJlayccs.. except as noted in Section 4(c) below.
  (1)     That I pay or snJJervise the t>avment of the pexsons eml)loved by
                                                                                                                                     (b)    Where~ benefits me paid in Cash
          WADSWORTH BROTHERS CONST                        on the     DEICING APRON
          that during the J>avroll nerlod commencing on the 20 day of October              ..   2014                                           Each laborer or mechanic listed in 1he above referenced oovroll has been
                                                                                                                                               pal~ as indicated on the payroll. sn amount not less than the sum
          and end.in~ the 26 dav of October                 •      2014 .. all peisons employed
                                                                                                                                               of the applicable basic hom:lv~e rate plus the amount of the
          on said project have been paid the full weekly W&$tCS earned. that no rebates have been                                              reqnired ftinge benefits as listed in the contract. except as noted in
          or wm be made either directly or indirectlv to or on behalf of said                                                                  Section 4(c) below.
           WADSWORTH BR.OT.BERS CONS :from the full weekly wa~es earned                                                               (c)   Exceptions
           bv snv person and that no deductions have been made either directly or indirectly
           from the full wages eamed bv any peISon, other than permissible deductions as defined in                            Exceotlon (Craft)               ExPlanation
           Regulations. Part 3 (29 CFR Subtitle A) issued by the Secretary ofLabor under the Copeland
            Act. as amended (48 Stat 948.. 63 Start. 108, 72 Stat 967~ 76 Stat 357: 40 U.S.C. § 3145). and
              descn1>cd below:




                                                                                                                                Remarks




        (2)    That any payrolls otheIWise under this contract requited to be submitted for the
               above period are correct and complete; that the wap;e rates for laborers
               or mechanics contained therein are not less than the apnlicable wa~ rates
               contained in anv wage det'emlination incomorated into the contrac~ that the
               classifications set forth therein for each laborer or mechanic conform with. the work be
               perfonned.



         (3)    That any apprentices em))loyed in the above 'Period are duly reJdstered in a bona fide
                 apprenticeship pro.gram re,idstered with a State apprcnticcsbh> agency reco~ized
                 by the Bureau ofADDrenticeshit> and Training. United States Department of
                 Labor. or if no such reooJl,tlized agency exists in a State. are ~stered with the
                 Bureau of Apprenticeship and Trainin~ United States Department of Labor.




                  LORI WADSWORTH, CONTROLLER
                  (Name and Title)
                  The willful falsification of anv of the above statements mav subiect the contractor or subcontractor to c.
                  ofTitle 3lofthe United States Code.



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                 EXHIBITB
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                                                                   F.OREMAN'S NAME >.. . I                                         J      ~-f ~ J          N          .r '           _< / <.       e          r r                                                                ..f.:-1 ...~!.qr·
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         COOK & MONAHAN, LLC
                        Attorneys at Law
                  323 South 600 East, Suite 200
                   Salt Lake City, Utah 84 l 02
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